Case 20-13103-MAM Doc133 _ Filed 10/19/20 Page 1 of 22

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

IN RE: |
20-13103-MAM

 

Hals Realty Associates LP
DEBTOR.

 

JUDGE: Mindy A. Mora

 

CHAPTER 11

CHAPTER 11 TRUSTEE'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

FOR THE PERIOD

FROM 09/01/2020 TO 09/30/2020

Comes now Michael Goldberg, as Chapter 11 Trustee of the above-named debtor and files its Monthly
Operating Report in accordance with the Guidelines established by the United States Debtor and FRBP
2015.

Trustee's Address: /s/ Eyal Berger

Michael Goldberg, Trustee for Hals
Associates LP

350 East Las Olas Blvd.

Attorney for Trustee's Signature

Suite 1600 Attorney's Address and Phone Number
Fort Lauderdale, FL 33301 Eyal Berger
954-463-2700 Akerman LLP

350 E Las Olas Blvd, Suite 1600
Fort Lauderdale, FL 33301
954-463-2700

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Debtor Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the
United States Debtor Program Website, http:/Awww.usdoj.gov/ust/r2 1/index.htm.

1) Instructions for Preparations of Debtor's Chapter 11 Monthly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs) hitp:/Avww.usdoj.gov/ust/.

MOR-1
Case 20-13103-MAM Doc 133 _ Filed 10/19/20 Page 2 of 22

SCHEDULE OF RECEIPTS AND DISBURSEMENTS
FOR THE PERIOD BEGINNING 09/01/2020 AND ENDING 09/30/2020

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Date of Petition: 3/5/2020
CURRENT CUMULATIVE
MONTH PETITION TO DATE

2,988,084.86 (a) $ 2,141,208.54 (b)

 

14. FUNDS AT BEGINNING OF PERIOD (Nofe 1)

 

we

| declare under penalty of perjury that this statement and the accompanying doc

RECEIPTS:
A. Revenue
Net Cash Sales
B. Accounts Receivable
C. Other Receipts (See MOR-3)
(If you receive rental income,
you must attach rent roll.)
TOTAL RECEIPTS (Lines 2A+2B+2C)
TOTAL FUNDS AVAILABLE FOR
OPERATIONS (Line 1 + Line 3)

DISBURSEMENTS

Advertising

Bank Charges

Contract Labor

Fixed Asset Payments (not incl. in "N")

Insurance

Inventory Payments

Leases

Manufacturing Supplies

Office Supplies

Payroll

Professional Fees (Accounting & Legal)

Rent

Repairs & Maintenance

Secured Creditor Payments (See Aftach. 2)

Taxes Paid - Payroll

Taxes Paid - Sales & Use

Taxes & Licenses

Telephone & Internet

Travel & Entertainment

U.S. Trustee Quarterly Fees

Utilities

Other Business Expense
. Other Disbursements (See MOR-3)
TOTAL DISBURSEMENTS (Sum of 5A thru W)
ENDING BALANCE (Line 4 Minus Line 6)

S<CXMROVOZEFAL-TONMOOW>Y

of my knowledge and belief.

This 20th day of October 2020

131,427.94

814,403.39

 

131,427.94

814,403.39

 

 

822.22

423,328.16

 

 

132,250.16

1,237,731.55

 

3,120,335.02

3,378,940.09

 

 

 

 

 

 

21,977.00

27,747.00

 

 

 

 

 

 

 

 

320.00

640.00

 

32,100.00

205,083.34

 

 

7,404.73

46,786.16

 

 

 

1,625.73

 

 

178.57

61,980.30

239.25
38,463.89
320,585.37

 

3,058 354.72

(c)

$

3,058,354.72 (c)

ents\and reports are trie and correct to the best

 

Michael Goldberg, as Chapter/11 Trustee

(a) This number is carried forward from last month's report. For the first report only, this number will be the
balance as of the petition date.

(b)This figure will not change from month to month. It is always the amount of funds on hand as of the date of
the petition.

(c)These two amounts will always be the same if form is completed correctly.

Note 1: An adjustment was made to the reported beginning balance as of the petition date to account for the certificates
of deposits ("CDs"). The previous monthly operating reports identified the CDs on Attachment 4D, but did not include the
funds on the Schedule of Receipts and Disbursements.

MOR-2
Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 3 of 22
MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont'd)
Detail of Other Receipts and Other Disbursements

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.
Cumulative
Description Current Month Petition to Date
Love Realty Walking Street LLC $ - $ 38,463.89
Hal Realty (DB #4546) : 95,370.32
Furr Cohen - Debtor's funds held in trust - 287,825.40
Interest Income from CDs 822.22 1,668.55
TOTAL OTHER RECEIPTS $ 822.22 $ 423,328.16
"Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties,
directors, related corporations, etc.) Please describe below:
Loan Amount Source of Funds Purpose Repayment Schedule

 

 

 

 

 

 

 

 

 

 

OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line SW.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cumulative
Description Current Month Petition to Date
Love Realty Walking Street LLC : 38,463.89
TOTAL OTHER DISBURSEMENTS $ - $ 38,463.89

 

NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement. *

**The Trustee is maintaining the books and records on a cash basis, therefore there is no balance sheet and the income statement reflects the
receipts and disbursements per the MOR

MOR-3
Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 4 of 22
ATTACHMENT 1
MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Reporting Period beginning 09/01/2020 and ending 09/30/2020

ACCOUNTS RECEIVABLE AT PETITION DATE: N/A

ACCOUNTS RECEIVABLE RECONCILIATION
(include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):

Beginning of Month Balance: $ 152,373 (a)
PLUS: Current Month New Billings $ -
MINUS: Collections During the Month $ - _(b)
PLUS/MINUS: Adjustments of Write-offs $ -*

End of Month Balance $ 152,373 (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:
June AR was not recognized

POST PETITION ACCOUNTS RECEIVABLE AGING
(Show the total amount for each aging category for all accounts receivable)

0-30 Days 31-60 Days 61-90 Days Over $0 Days Total
$ : $ : $ 17,367 $ 135,005 $ 152,372 (c)

For any receivables in the "Over 90 Days" category, please provide the following:

Receivable Status (Collection efforts taken, estimate of collectability, write-
Customer Date off, disputed account, etc.)
Tourneau 2/18/2020 Tenant remitting partial paymemt. due to Covid-19

 

 

 

 

 

(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of the
petition date.

(b) This must equal the number reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page
MOR-2, Line 2B).

(c) These two amounts must equal.

MOR-4
Case 20-13103-MAM Doc133_ Filed 10/19/20 Page 5 of 22

ATTACHMENT 2
MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Reporting Period beginning 09/01/2020 and ending 09/30/2020

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include amounts
owed prior to filing the petition. In the alternative, a computer generated list of payables may be attached provided all
information requested below is included.

POST-PETITION ACCOUNTS PAYABLE

 

 

 

 

 

 

 

 

Date Days
Incurred Qutstanding Vendor Description Amount
$ -
TOTAL AMOUNT $ -___(b)

 

[_]check here is pre-petition debts have been paid. Attach an explanation and copies of supporting

documentation.

 

ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only):

 

 

 

 

Opening balance $ - (a)
PLUS: New Indebtedness Incurred This Month $ -
MINUS: Amount Paid on Post Petition,

Accounts Payable This Month $ :
PLUS/MINUS: Adjustments 3 -*
Ending Month Balance $ - (c)

 

*For any adjustments provided explanation and supporting documentation, if applicable.

SECURED PAYMENTS REPORT

List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a modification
agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee Program prior to
completing this section.

 

 

 

 

 

 

 

Secured Date Payment Amount eer n Total Amount of
Creditor / Due This Paid This Payments Post Petition Payments
Lessor Month Month Delinquent Delinquent
Bank of America 9/20/2020 32,100.00 i)
TOTAL $ 32,100.00 (d)

(a) This number is carried from last month's report. For the first report only, this number will be zero.
(b,c)The total of line (b) must equal line (c).
(d)This number is reported in the "Current Month" column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).

MOR-5
Case 20-13103-MAM DOr eee 10/19/20 Page 6 of 22
INVENTORY AND FIXED ASSET REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 09/01/2020 and ending 09/30/2020
INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE: N/A
INVENTORY RECONCILIATION:
Inventory Balance at Beginning of Month
PLUS: Inventory Purchased During Month
MINUS: Inventory Used or Sold
PLUS/MINUS: Adjustments or Write-downs
Inventory on Hand at End of Month

-__ (a)

 

 

14/49 len] 9
‘

 

METHOD OF COSTING INVENTORY:

 

 

“For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

 

 

 

 

INVENTORY AGING
Less than 6 6 months to Greater than Considered
months old 2 years old 2 years old Obsolete Total Inventory
100.00% 0.00% 0.00% 0.00% = 100% *
*Aging Percentages must equal 100%
[check here if inventory contains perishable items.
Description of Obsolete Inventory:
FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE: NIA (b)

 

(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION: (First Report Only):

 

 

 

FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month
MINUS: Depreciation Expense
PLUS: New purchases
PLUS/MINUS: Adjustments or Write-downs
Ending Monthly Balance

649,839 (a)(b)

 

*

649,839

 

4/48/49 169/40

 

 

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:

 

 

(a) This number is carried forward from last month's report. For the first report only, this number will be the balance as of
the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.

Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.

MOR-6
Case 20-13103-MAM Doc133_ Filed 10/19/20 Page 7 of 22
ATTACHMENT 4A

MONTHLY SUMMARY OF BANK ACTIVITY

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 09/01/2020 and ending 09/30/2020

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r21/index.htm. 1f bank accounts other than the three required by the United States Trustee Program are necessary,

permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Iberia Bank BRANCH:

ACCOUNT NAME: Hals Realty Associates ACCOUNT NUMBER: 6243

PURPOSE OF ACCOUNT:

Ending Balance Per Bank Statement

Plus Tota! Amount of Outstanding Deposits

Minus Total Amount of Outstanding Checks and other debits
Minus Service Charges

Ending Balance Per Check Register

213,995.98

*

 

213,995.98 “*(a)

calealesleoles

*Debit cards are used by

 

*If Closing Balance Is negative, provide explanation:

 

 

The following disbursements were paid in Cash (do not include items reported as Petty Cash on Attachment 4D:
(L]check here if cash disbursements were authorized by United States Trustee)

Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits", listed above includes:

$ - Transferred to Payroll Account
$ - Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

MOR-7
Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 8 of 22
ATTACHMENT 5A
CHECK REGISTER
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 09/01/2020 and ending 09/30/2020

 

 

 

NAME OF BANK: Iberia Bank BRANCH:
ACCOUNT NAME: Hals Realty Associates

ACCOUNT NUMBER: 6243

PURPOSE OF ACCOUNT:

 

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.

Date Check

— Number Payee Purpose Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL $

MOR-8
Case 20-13103-MAM Doc133_ Filed 10/19/20 Page 9 of 22
ATTACHMENT 4B

MONTHLY SUMMARY OF BANK ACTIVITY
Name of Debtor: Hais Realty Associates LP Case Number: 20-13103-MAM
Reporting Period beginning 09/01/2020 and ending 09/30/2020
Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r21/index.him. If bank accounts other than the three required by the United States Trustee Program are necessary,

permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

NAME OF BANK: Bank of America BRANCH:
ACCOUNT NAME: Hals Realty Associates LP ACCOUNT NUMBER: 0435
PURPOSE OF ACCOUNT:

Ending Balance Per Bank Statement 1,014,138.98

$
Plus Tota! Amount of Outstanding Deposits $ :
Minus Total Amount of Outstanding Checks and other debits $ -_*
$
$

Minus Service Charges

Ending Balance Per Check Register 1,014,138.98 **(a)

*Debit cards are used by

 

“If Closing Balance is negative, provide explanation:

 

 

The following disbursements were paid in Cash (do not Include Items reported as Petty Cash on Attachment 4D:
(check here if cash disbursements were authorized by United States Trustee)

Date Amount Payee Purpose Reason for Cash Disbursement

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
"Total Amount of Outstanding Checks and other debits", listed above includes:

$ : Transferred to Payroll Account
$ : Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as "Ending Balance” on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

MOR-9
Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 10 of 22
ATTACHMENT 5B
CHECK REGISTER
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 09/01/2020 and ending 09/30/2020

 

 

 

NAME OF BANK: Bank of America BRANCH:
ACCOUNT NAME: Hals Realty Associates LP

ACCOUNT NUMBER: 0435

PURPOSE OF ACCOUNT:

 

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can
be attached to this report, provided all the information requested below is included.

Check

Number Payee Purpose Amount

Date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL $ :

MOR-10
Case 20-13103-MAM Doc133 Filed 10/19/20 Page 11 of 22
ATTACHMENT 4G

MONTHLY SUMMARY OF BANK ACTIVITY
Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM
Reporting Pericd beginning 09/01/2020 and ending 09/30/2020
Attach a copy of current month bank statement and bank reconclliation to this Summary of Bank Activity. A standard bank reconciliation form can be
found at http:/Avww.usdoj.gov/ust/r21/index.htm. If bank accounts other than the three required by the United States Trustee Program are necessary,

permission must be obtained from the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

 

 

 

 

 

NAME OF BANK: City National bank BRANCH:
ACCOUNT NAME:  Hals Realty Associates LP ACCOUNT NUMBER: 1273
PURPOSE OF ACCOUNT:
Ending Balance Per Bank Statement $ 243,534.94
Plus Total Amount of Outstanding Deposits $ 26,280.83
Minus Total Amount of Outstanding Checks and other debits $ -_”*
Minus Service Charges $ :
Ending Balance Per Check Register $ 269,815.77 **(a)
*Debit cards are used by
“*If Closing Balance is negative, provide explanation:
The following disbursements were pald In Cash {do not include items reported as Petty Cash on Attachment 4D:
([]oneck here if cash disbursements were authorized by United States Trustee)
Date Amount Payee Purpose Reaso Cash D rsement

 

 

 

 

 

 

 

TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above includes:

$ : Transferred to Payroll Account
$ - Transferred to Tax Account

 

 

(a) The total of this line on Attachment 4A, 4B, and 4C plus the total of 4D must equal the amount reported as “Ending Balance" on Schedule of Receipts
and Disbursements (Page MOR-2, Line 7).

MOR-11
Case 20-13103-MAM Doc133 Filed 10/19/20 Page 12 of 22

ATTACHMENT 5C

CHECK REGISTER

Name of Debtor: Hals Realty Associates LP

Reporting Period beginning 09/01/2020 and ending 09/30/2020

NAME OF BANK:
ACCOUNT NAME:
ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:

City National bank
Hals Realty Associates LP

1273

Case Number.

 

20-13103-MAM

BRANCH:

Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer generated check register can

be attached to this report, provided all the information requested below is included.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MOR-8
MOR-12

Check
Date Number Payee Purpose Amount
9/15/2020 City National Bank Bank Fees 148.24
9/15/2020 1003 Bank of America Mortgage 32,100.00
9/15/2020 1004 Armando Chavez Lawn Maintenance 320.00
9/15/2020 1005 Love Realty Walking Street LLC FedEx reimbursement 30.33
9/15/2020 1006 Wright National Flood Insurance Co Insurance 2,226.00
9/15/2020 1007 Wright National Flood Insurance Co Insurance 19,751.00
9/16/2020 Fla Dept Revenue Sales Tax 7,404.73
TOTAL $ 61,980.30
Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 13 of 22
ATTACHMENT 4D

INVESTMENTS ACCOUNTS AND PETTY CASH REPORT

 

INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc., should
be listed separately. Attach copies of account statements. (Note 1}

 

 

 

 

 

 

Type of Negotiable
Current
Instrument Face Value Purchase Price Date of Purchase Market Value
CD - FCB xx6865 $ : $ - $ 61,759.84
CD - 1B xx3039 518,545.94
CD - IB xx6865 968,527.84
CD - IB xx8400 11,570.37
TOTAL $ 1,560,403.99 (a)

PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

 

 

 

(Column 2) (Column 3) (Column 4)

Maximum Amount Amount of Petty Difference between
Location of of Cash in Drawer/ Cash On Hand At (Column 2) and
Box/Account Acct. End of Month (Column 3)

$ - $ - $ -
TOTAL $ : (b)

For any Petty Cash Disbursement over $100 per transaction, attach copies of receipts. If there are no receipts,
provide an explanation

 

 

 

TOTAL INVESTMENT ACCOUNTS AND PETTY CASH (a + b) $ 1,560,403.99 (C)

(c) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as “Ending
Balance" on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).

Note 1: Account statements were not made available. The reported account value was provided by the banks’
representatives.

MOR-13
Case 20-13103-MAM Doc133 Filed 10/19/20 Page 14 of 22
ATTACHMENT 6

MONTHLY TAX REPORT

Name of Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

 

 

Reporting Period beginning 09/01/2020 and ending 09/30/2020
TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales tax, property tax,
unemployment tax, State workmen's compensation, etc.

 

 

 

 

 

 

 

 

 

 

 

Name of Taxin Date Date Last Tax
Authority Fayment Description Amount “Return Filed - Tax Return Period
TOTAL $ .

MOR-14
Case 20-13103-MAM Doc133 Filed 10/19/20 Page 15 of 22

ATTACHMENT 7

SUMMARY OF CFFICER OR OWNER COMPENSATION
SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debter: Hals Realty Associates LP Case Number. 20-13103-MAM

 

Reporting Period beginning 09/01/2020 and ending 09/30/2020

Record ail ferms of compensation received by or paid on behalf of the Officer or Owner during the month. Include car allowances, payments to retirement plans, loan
repayments, payments of Officer/Owner's personal expenses, insurance premium payments, etc. Do not include reimbursement of business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of Officer or Owner Tittle Payment Nescrintion Amount Paid
PERSONNEL REPORT
Full Time Part Time,
Number of employees at beginning of period ( O
Number hired during the period 0 Q
Number terminated or resigned during period 0 0
Number of employees on payroll at end of period Oo 0

 

 

 

 

CONFIRMATION OF INSURANCE

List all policies of Insurance in effect, Including but not fimited to workers’ compensation, liability, fire, theft, comprehensive, vehicle, health and life. For the first report, attach a
copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during the month (new
carrier, increased policy limits, renewal, etc.),

 

 

 

 

Phone : Expiration Date Premium
Agent and/or Carrier Number Policy Number Coverage Type Date Due
Westchester Fire Insurance Co 561-622-2550 042248976002 Property 02/01/21 NIA
Wright National Flood Ins Co 800-820-3242 1151026975 Flood 10/14/21 N/A
Wright National Flood Ins Co 1-800-820-3242 1151261809 Flood 08/18/21 NiA
Wright National Flood Ins Co 800-820-3242 1151261808 Flood 08/15/21 NiA

 

 

 

 

 

 

 

 

 

 

The following lapse tn insurance coverage occurred this month:

Policy Date
Type Lapsed Date Reinstated Reason for Lapse

 

 

 

 

[check here If U.S. Trustee has been Ilsted as Certificate Holder for all insurance policies.

MOR-15
Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 16 of 22
ATTACHMENT 8

SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Name of the Debtor: Hals Realty Associates LP Case Number: 20-13103-MAM

Reporting Period beginning 09/01/2020 and ending 09/30/2020

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not reported on this report,
such as the sale of real estate (attach closing statement ); (2) non-financial transactions, such as the substitution of assets or
collateral; (3) modifications to loan agreements; (4) change in senior management, etc.

Attach any relevant documents.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MOR-16
— e Case 20-13103-MAM Doc133 Filed 10/19/20 Page 17 of 22
ACORD EVIDENCE OF COMMERCIAL PROPERTY INSURANCE pare upon)

10/15/2020
THIS EVIDENCE OF COMMERCIAL PROPERTY INSURANCE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS
UPON THE ADDITIONAL INTEREST NAMED BELOW. THIS EVIDENCE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER
THE COVERAGE AFFORDED BY THE POLICIES BELOW. THIS EVIDENCE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN
THE ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE ADDITIONAL INTEREST.

 

 

 

 

 

 

CONTAGT PERSON AND ADDRESS [ {Ale No. Ext): 561-622-2550 COMPANY NAME AND ADDRESS [ naic No: 10030
Celedinas Insurance Group Westchester Fire Insurance Co.

A Marsh & McLennan Agency
4400 PGA Blvd, Suite 1000
Palm Beach Gardens, FL 33410

 

 

 

 

 

 

 

 

 

Arc, No}: | EMAL a. celedinascerts@mma-fl.com IF MULTIPLE COMPANIES, COMPLETE SEPARATE FORM FOR EACH
CODE: SUB CODE: POLICY TYPE
AGENCY j PROPERTY
NAMED SHRED AND ADDRESS | Partnershy LOAN NUMBER POLICY NUMBER

ais Rea sociates, artnership,
Love Realty Walking Streets, LLC D42248976 002
P.O. Box 2528 EFFECTIVE DATE EXPIRATION DATE

CONTINUED UNTIL

Palm Beach, FL 33480 11/02/2019 02/01/2021 [_] TERMINATED IF CHECKED
ADDITIONAL NAMED INSURED(S) THIS REPLACES PRIOR EVIDENCE DATED:

Burton Handelsman

 

 

PROPERTY INFORMATION (ACORD 101 may be attached if more space is required) [] BUILDING OR Kl BUSINESS PERSONAL PROPERTY
LOCATION / DESCRIPTION
See Location Breakdown in Remarks.

 

 

THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD INDICATED. NOTWITHSTANDING
ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS EVIDENCE OF PROPERTY INSURANCE MAY
BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS
OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COVERAGE INFORMATION PERILSINSURED | |sasic_ | |eroan |X |speciat |_|
COMMERCIAL PROPERTY COVERAGE AMOUNT OF INSURANCE: $94,125,000 DED:10,000
'YES| NO | N/A
BUSINESS INCOME [5] RENTAL VALUE x If YES, LIMIT:¢4 465.460 | X | Actual Loss Sustained; # of months:
BLANKET COVERAGE x If YES, indicate vatue(s) reported on property identified above: $
TERRORISM COVERAGE x Attach Disclosure Notice / DEC ,
IS THERE A TERRORISM-SPECIFIC EXCLUSION? x ALL-10750 (01/15)
IS DOMESTIC TERRORISM EXCLUDED? x

LIMITED FUNGUS COVERAGE x If YES, LIMIT:250,000 DED: 40,000
FUNGUS EXCLUSION (If "YES", specify organization's form used) X
REPLACEMENT COST x
AGREED VALUE xX
COINSURANCE x YES, %
EQUIPMENT BREAKDOWN (if Applicable) x if YES, LIMIT:*4900,000,c00 DED:+40,000
ORDINANCE OR LAW  - Coverage for loss to undamaged portion ofbldg | X Hf YES, LIMIT: tneluded DED:40,000

- Demotition Costs xX If YES, LIMIT:5 G00,000 DED:+0,000

~ Incr. Cost of Construction X lf YES, LIMIT:Combined wi B DED:40,000
EARTH MOVEMENT (If Applicable) X If YES, LIMIT:40,000,000 DED:50,000
FLOOD (lf Appticable) Xx IFYES, LIMIT:49,000,000 DED:7100000
WIND / HAIL INCL (%) YES [NO = Subject to Different Provisions: | X If YES, LIMIT:10,000,000 DED:5§0,000
NAMED STORMINCL [xX] YES [JNO Subject to Different Provisions: | X IFYES, LIMIT:10,000,000 DED:2% min $100,000
PERMISSION TO WAIVE SUBROGATION IN FAVOR OF MORTGAGE
HOLDER PRIOR TO LOSS Xx

 

 

 

 

 

CANCELLATION

SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE EXPIRATION DATE THEREOF, NOTICE WILL BE
DELIVERED IN ACCORDANCE WITH THE POLICY PROVISIONS.

ADDITIONAL INTEREST

CONTRACT OF SALE LENDER'S LOSS PAYABLE | | LOSS PAYEE LENDER SERVICING AGENT NAME AND ADDRESS
MORTGAGEE

NAME AND ADDRESS

 

 

 

 

 

 

 

United States Trustee Office
Executive Offices for U.S. Trustees
441 G St., NW

Suite 6150

Washington, DC 20530

 

AUTHORIZED REPRESENTATIVE

AFBI

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Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 18 of 22
AGENCY CUSTOMER ID:

 

 

 

 

 

 

 

 

LOC #:
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ACORD ADDITIONAL REMARKS SCHEDULE Page 1 of 1
AGENCY NAMED INSURED

Celedinas Insurance Group Hals Realty Associates, Ltd Partnership,

Love Realty Walking Streets, LLC

POLICY NUMBER P.O. Box 2528

D42248976 G02 Palm Beach, FL 33480
CARRIER NAIC CODE

Westchester Fire Insurance Co. 10030 EFFECTIVE DATE: 11/02/2019
ADDITIONAL REMARKS

 

THIS ADDITIONAL REMARKS FORM IS A SCHEDULE TO ACORD FORM,
FORMNUMBER: __28 __ FORM TITLE; EVIDENCE OF COMMERCIAL PROPERTY INSURANCE

REMARKS:

 

Location Breakdown:

175-185 Worth Ave (Unit C), Palm Beach FL 33480 (Apt) - Bldg $375,000; BI $373,960

411 S County Road, Palm Beach FL 33480 (Office) - Bldg $2,200,000; BPP $50,000; BI $703,500
411 S County Road, Palm Beach FL 33480 (Drive Thru) - Bldg $50,000

401 S County Rd, Palm Beach FL 33480 (Office) - Bldg $1,450,000; BI $388,000

Sinkhole is Included.
Loss of Business Income is based upon a 12 month period, with a 100% contribution clause.

LAYER 2 PROPERTY ($2.5MM XS $2.5MM) ~ Endurance American Specialty Insurance Co; Policy #ESP30001332900; EFF Dates: 11/02/19-20.
Perils Insured: All Risks of Direct Physical Loss or Damage including Earth Movement and Flood; Excluding Equipment Breakdown and Terrorism
Covered Property. Buildings, Business Personal Property and Business Income including Extra Expense
ani of Habit. $2,500,000 part of $10,000,000 Per Occurrence and Annual Aggregate as respects Earth Movement and Fload
Valuation: Property- Replacement Cost; Bl- Actual Loss Sustained
Terrorism Exclusion: IL 09 53 01 15
Sinkhole is Included.

LAYER 3 PROPERTY ($5MM XS $5MM} — Lloyds of London; Policy #3128413963W19; EFF Dates: 11/02/19-20.
Cause of Loss: All Risk of Direct Physical Loss or Damage Including Named Storm, Earth Movement, and Flood Including High Hazard Zones Prefixed A & V.
Limit: $10,000,000 per Occurrence and in the annual aggregate in respect of Flood and Earth Movement separately.
Terrorism Exctuded.
TIV $98,345,498

LAYER 4 PROPERTY ($90MM XS $10MM) - RSUI Indemnity Company, Policy #LHD910515; EFF Dates: 11/02/19-20.
Perils Covered: All Risk Excluding Flood, Earth Movement, Terrorism, Windstorm or Hail associated with a Named Storm
Property Covered: Building, Personal Property, and Business Income with Extra Expense including "Rental Value"

Limit insured: $90,000,000 Per Occurrence, subject to conditions

TERRORISM (Standalone) ~ Lloyds of London; Policy #80621MBURT000219; EFF Dates: 11/02/19-20.
TIV $98,345,498 each and every Occurrence and in the aggregate
Deductible: Nil
Indemnity Peried: 12 Months
Syndicate No. 1969, APL, London, England

“BOILER & MACHINERY“ (Standalone) ~ Continental Casualty Company; Policy #6078967053; EFF Dates: 11/02/19-20.
Coverage: Comprehensive Form Covering Boilers, Pressure Vessels, Mechanical & Electrical Machines
Property Damage Limit: $100,000,000 (Combined Limit Per Accident)
Business Income Limit: Combined with Property Damage Limit above
Valuation: Replacement Cost & Actual Loss Sustained
Deductibles: Property Damage- $10,000; Business Income- 24 Hours
Terrorism Coverage: Included
Covered Locations TIV $97,446,218 (Exctuding mobile equipment values).

*FLOOD POLIES* (Standalone) ~- Wright National Flood Insurance Company
Location: 175-185 Worth Ave, Palm Beach, FL 33480
Policy #09115102697506; EFF Dates: 10/14/19-20.
Flood Risk/Rated Zone: AE
Building Limit: $500,000; Deductible $5,000
Location: 411 S County Rd, Palm Beach, FL 33480
Policy #09115102697606; EFF Dates: 10/14/19-20.
Flood Risk/Rated Zone: AE
Building Limit: $75,700; Deductible: $5,000

PROOF OF INSURANCE ONLY.

 

 

 

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Tower Hill 912100 USRERSRRST IOS :0 Poe SRS
nsurance St. Petersburg, FL 33733-8003 9/21/20
Cc § : 1-800-820.
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FLOOD DECLARATIONS PAGE
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Policy Number NFIP Policy Number|Product Type: Standard Policy
09 1151026975 07 1151026975 General Property Form
Policy Period Date of Issue Agent Code Prior Policy Number
From: 10/14/26 To: 10/14/21 12:01 am Standard Time 09/21/2020 0535810 8704884162
Agent (561)622-2550
CELEDINAS INSURANCE GROUP HALS REALTY ASSOCATES LP
4400 PGA BLVD STE 1000 LOVE REALTY MANAGEMENT INC
PALM BEACH GARDENS FL 33410-6563 PO BOX 2528

PALM BEACH FL 33480-2528

Property Location (if other than above) Address may have been changed in accordance with USPS standards.
175-185 WORTH AVE, PALM BEACH FL 33480

| Rating Information |

Origirial New Business Effective Date: 10/14/2013 Flood Risk/Rated Zone: AE
Grandfathered: No

Building Occupancy: Business Non-Residential

 

 

 

 

 

 

 

Primary Residence: N Number of Floors: Two Floors
Condo Type: N/A Building Indicator: Non-Elevated
Community #: 120220 Map Panel/Suffix: 0583 F Basement/Enclosure/Crawlspace:
Community Rating: 06 / 20% Program Status: Regular No Basement
Community Name: PALM BEACH, TOWN OF
| Coverage Deductible Annual Premium|
BUILDING $500,000 $5,000 . $22,590.00
CONTENTS NO CONTENTS COVERAGE INSURED DECLINED CONTENTS COVERAGE $0.00
ANNUAL SUBTOTAL: 5 034 00
DEDUCTIBLE DISCOUNT/SURCHARGE: - $2,034.00
COMMUNITY RATING DISCOUNT: - $4,121.
DEAR MORTGAGEE SUB-TOTAL: $16,484.00
The Reform Act of 1994 requires you to notify
the WYO company for this policy within 60 days RESERVE FUND ASSESSMENT: $2,967.00
of any changes in the servicer of this loan. PROBATION SURCHARGE: $0.00
The above message applies only when there FEDERAL POLICY SERVICE FEE: $50.00
is a mortgagee on the insured location. HFIAA SURCHARGE: $250.00
Premium Paid by: insured TOTAL WRITTEN PREMIUM AND FEES: $19,751.00

 

| Special Provisions:

This policy covers onty one building. If you have more than one building on your property, please make sure they are all covered. See i. Property
Covered within your Flood policy for the NFIP definition of “building” or contact your agent, broker, or insurance company. Please refer to the policy
for complete terms, conditions, and exclusions. A full, digital copy of your flood policy form is available at www.wrightficod.com/policyforms.htm!. The
form which applies to your policy coverage is: General Property Form

No Additions and Extensions
Pre-FIRM Subsidized

 

[Forms and Endorsements: |
WEL 99.415 11171117 FFL 99.31001200120 WFL 99.116 0614 0614

This policy is issued by NAIC company 11523 \
Wright National Flood Insurance Company A stock company . A - (PrP,
Copy Sent To: As indicated on back or additional pages, if any. Patricia Templeton-Jones, President
:
053581009115102697Se02b50e 00003 DOLS? :

Insured
Case 20-13103-MAM Doc 133 Filed 10/19/20 Pagge?649/o¢4s519

3600594

9/21/20
09 1151026975 07
Agent (561)622-2550 First Mortgagee
CELEDINAS INSURANCE GROUP Loan XX-XXXXXXX
4400 PGA BLVD STE 1000 BANK OF AMERICA NA
PALM BEACH GARDENS FL 33410-6563 ISAOA

PO BOX 40329

JACKSONVILLE FL 32203-0329

Refer to www.fema.gov/cost-of-flood for more information about flood risk and policy rating.
Claims Information:

Please contact your agent or go to www.wrightflood.com to enter your claim as well as
receive important information to mitigate the damage to your property. If you need to

reach the insurance company the number is 1-800-725-9472.

 

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Insured
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Bs | Tower Hill RO. secon Oe “3600594
ia, Insurance St. Petersburg, FL. 33733-8003 9/21/20

Customer Service: 1-800-820-3242
Claims: 1-800-725-9472

Wright National Flood Insurance Company
Privacy Statement
09 1151026975 07 10/14/20
2000 11523 FLD RGLR

Revised: January 1, 2020
This Privacy Statement explains our privacy practices, including how we use your non-public personal information ("Personal
Information") and to whom it is disclosed. We may amend this Privacy Statement from time to time consistent with applicable
privacy laws.

Wright National Flood Insurance Company and its affiliates, Wright National Flood Insurance Services. LLC. DBA Wright Flood
Insurance Services, LLC in California, and Wright National Flood Insurance Services of New York, LLC, member companies of
The Wright Insurance Group, LLC, follow the privacy practices described in this Privacy Statement. Depending on the business
they perform, these affiliates may also share information as described below.

We may collect Personal Information about you from the following sources:
@ Information we receive from you on applications or other forms we receive from you or your authorized representative, such as
your name, address, social security number, tax identification number, asset information and income information;

@ Information about your transactions with us or the services being performed by. us, our affiliates or others. such as information
conceming your policy, premiums, payment history. information about your home or other real property, information from
lenders and other third parties involved in such a transaction, account balances, credit card numbers and payment histories;

@ Information we receive from you through our internet websites, such as your name, address, email address, Internet Protocol
address, the website links you used to get to our site(s) and the pages viewed while at our site(s); and

® information we receive from consumer or other reporting agencies.
Protection of the Confidentiality and Security of Your Personal Information

We maintain physical, electronic and procedural safeguards designed to protect your Personal Information from unauthorized
access or intrusion. We limit access to the Personal Information to those employees who need such access in connection with
providing products or services to you or for other legitimate business purposes.

Sharing of Personal Information

We do not disclose Persona! Information about our customers or former customers to anyone. except as permitted by law. We do
not share information we collect from consumer or credit reporting agencies with our affiliates or others without your consent
unless such disclosure is otherwise permitted by law.

Consistent with applicable law, we may nevertheless provide all or some of the Personal Information described above (excluding
information we receive from consumer or other credit reporting agencies) to the following individuals and companies:

® to our affiliates, including insurance companies and agents to provide you with services you have requested or as otherwise
permitted under applicable law.

@ to insurance agents, brokers, representatives, support organizations or others:

®@ tothe extent necessary to provide you with services you have requested, so long as the above entities and persons agree not
to further disclose your Personal Information except to the extent necessary to carry cut the requested service on your
behalf:

@ toenable us to detect or prevent criminal activity, fraud, material misrepresentation or nondisclosure in connection with
an insurance transaction; and

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Case 20-13103-MAM Doc 133 Filed 10/19/20 Page 23.0).224
09 2151026975 07 9/21/20

® inconnection with performing an insurance transaction for you:

© to third-party contractors or service providers for the purpose of determining your eligibility for an insurance benefit or
payment and/or provide you with services you have requested: and

® toan insurance regulatory authority, or a law enforcement or other governmental authority.
Sharing of Personal Information With Service Providers

We may share some or all of the Personal Information (excluding information we receive from consumer or other credit reporting
agencies) that we collect about you with nonaffiliated third parties to provide services or functions on our behalf pursuant to a
contractual agreement prohibiting the third party from disclosing or using your Personal Information other than to carry out the
purposes for which we disclosed the Personal Information. Such services may include the marketing of financial products or
services offered pursuant to agreements between one or more financial institutions.

Right to Opt Out of Information Sharing With Nonaffiliated Parties Other Than As Permitted By Law

Under certain circumstances not applicable here. financial institutions are required to offer consumers the right to “opt out" of the
sharing of Personal Information with nonaffiliated parties, when such sharing of Personal Information is not authorized by law.
Since we do not share your Personal Information with nonaffiliated third partics except as expressly permitted by law, this notice
and "opt out" opportunity does not apply to you.

For Residents of California, New Mexico and Vermont: Your Authorization Is Required Prior To The
Sharing of Your Information With Nonaffiliated Third Parties Other Than As Permitted By Law

Under ceriain circumstances not applicable here. financial institutions are required to obtain your authorization ("opt in") prior to
sharing your Personal Information with nonaffiliated third parties, when such sharing of Personal Information is not authorized by
law. Since we do not share your Personal Information with nonaffiliated third parties except as expressly permitted by law, this
notice and “opt in" opportunity does not apply to you.

Right to Access Your Personal Information and Ability To Correct Errors Or Request Changes Or
Deletion

As required by applicable law, we will afford you the right to access your Personal Information, under certain circumstances to find
out to whom your Personal Information has been disclosed, and request correction or deletion of your Personal Information. Where -
permitted by law, we may charge a reasonable fee to cover the costs incurred in responding to such requests. All requests must be
made in writing to the following address:

Privacy Compliance Officer
Wright National Flood Insurance Company
$01 94th Avenue North - Suite 110
St. Petersburg, FL 33702

 

Compliance@weareflood.com
1-800-820-3242, ext 7777

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Insured
